         Case 1:12-cr-00176-DAD Document 47 Filed 01/24/14 Page 1 of 1
                        UNITED STATES DISTRICT COURT
                       EASTERN DISTRICT OF CALIFORNIA


                                    MEMORANDUM




Honorable Anthony W. Ishii                   RE: Diego RAMIREZ
Senior U.S. District Court Judge                 Docket Number: 1:12CR00176-03 AWI
Fresno, California                               Request For Sentencing Continuance


Your Honor:

The defendant is housed at the Fresno County Jail. In view of the current quarantine at the jail
because of an outbreak of the H1N1 Swine Flu, there remains an inadequate amount of time to
interview the defendant and prepare the sentencing report. Defense Counsel and the
Government have no objection (e-mail attached) to the sentencing hearing being continued to
the early morning of April 14, 2014. Thank you for your consideration.

Should Your Honor have any questions or concerns, please contact me at (559) 499-5733.


                                     Respectfully submitted,

                                      /s/ Melinda S. Peyret

                                    MELINDA S. PEYRET
                               Sr. United States Probation Officer


APPROVED BY:

Dated:    January 21, 2014
          Fresno, California
          MSP:mp

Enc.
cc: N. Reyes & P. Martinez, Defense Counsels
    M. Alsworth, AUSA

IT IS SO ORDERED.

Dated: January 23, 2014
                                           SENIOR DISTRICT JUDGE


                                                                                     REV. 05/2013
                                                                                MEMO_COURT.DOTX
